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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PATRICIA MCNULTY                                            :     CIVIL ACTION
              Plaintiff                                     :
                                                            :
       v.                                                   :     NO. 19-5029
                                                            :
THE MIDDLE EAST FORUM, et al                                :
              Defendant                                     :
                                             ORDER

       Following upon the January 27, 2021 letter from Jonathan Cavalier, counsel for Middle

East Forum, it is hereby ORDERED that the parties shall meet and confer on outstanding

discovery issues by noon, Thursday, January 28, 2021.           If the parties do not reach an

agreement, they are FURTHER ORDERED to participate in a telephone status conference with

Magistrate Judge Strawbridge on Thursday, January 28, 2021 at 3:00 p.m. The Court will

contact counsel with instructions to connect to the call.

       IT IS SO ORDERED.

                                                            BY THE COURT:



Date: January 27, 2021                                       /s/ David R. Strawbridge, USMJ
                                                            David R. Strawbridge
                                                            United States Magistrate Judge
